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                           IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF CALIFORNIA
United States of America
   v.                                           JUDGMENT IN A CRIMINAL CASE
                                                (For Offenses Committed On or After November 1, 1987)
Josue Matamoros-Galvez
                                                No. 18-15067M-SD
Citizen of Honduras
                                                Bruce Yancey (CJA)
                                                Attorney for Defendant
YOB: 1996                          ICE# A20620 1802

THE DEFENDANT ENTERED A PLEA OF guilty on 1/29/2018 to Count 1 ofthe Complaint.

ACCORDINGLY, THE COURT HAS ADJUDICATED THAT THE DEFENDANT IS GUILTY
OF THE FOLLOWING OFFENSE(S): violating Title 8, U.S.C. §1325(a)(1), Illegal Entry, a Class B
Misdemeanor offense, as charged in Count 1 of the Complaint.

IT IS THE JUDGMENT OF THIS COURT THAT the defendant is committed to the custody of the
Bureau of Prisons for a term of NINETY (90) DAYS, wit~ credit for time served.

                               CRIMINAL MONETARY PENALTIES

The defendant shall pay to the Clerk the following total criminal monetary penalties:

SPECIAL ASSESSMENT: REMITTED                    FINE: NONE                 RESTITUTION: NONE


THE DEFENDANT IS ADVISED OF DEFENDANT'S RIGHT TO APPEAL BY FILING A
NOTICE OF APPEAL IN WRITING WITHIN 14 DAYS OF ENTRY OF JUDGMENT.

The Court orders commitment to the custody of the Bureau of Prisons.

The defendant is remanded to the custody of the United States Marshal.

Date of Imposition of Sentence: Monday, January 29, 2018

        Dated this 29th day of January, 2018.
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                                                                              RETURN

 I have executed this Judgment as follows:
                                                                                                                              , the institution
 defendant delivered on             _ _ _ _ _ _ _ _ to                                                  at
 designated by the Bureau of Prisons with a certified copy of this judgment in a Criminal case.


 United States Marshal                                                                            By:        Deputy Marshal


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